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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )          Case No. 1:21-cr-00537-JMC
                       v.                        )
                                                 )
 RYAN SAMSEL,                                    )
                                                 )
                  Defendant.                     )
                                                 )

 DEFENDANT RYAN SAMSEL’S REPLY IN SUPPORT OF MOTION FOR REVIEW
             AND REVOCATION OF DETENTION ORDER

       “The crux of the constitutional justification for preventative detention under the Bail

Reform Act is that, ‘[w]hen the Government proves by clear and convincing evidence that an

arrestee presents an identified and articulable threat to an individual or the community, . . . a

court may disable the arrestee from executing that threat.’” United States v. Munchel, 991 F.3d

1273, at 1282 (D.C. Cir. 2021) (emphasis added) (quoting United States v. Salerno, 481 U.S.

739, 751 (1987)). “In our society liberty is the norm, and detention prior to trial or without trial

is the carefully limited exception.” Salerno, 481 U.S. at 755. See also United States v.

Motamedi, 767 F.2d 1403, 1405, 1406 (9th Cir. 1985) (“[F]ederal law has traditionally provided

that a person arrested for a non-capital offense shall be admitted to bail. Only in rare

circumstances should release be denied. Doubts regarding the propriety of release should be

resolved in favor of the defendant.” (internal citations omitted)). The government has not

demonstrated, let alone demonstrated by clear and convincing evidence, that Mr. Samsel poses

an “identified and articulable threat” to any individual or the community as a whole, let alone

that his continued detention would “disable” Mr. Samsel from “executing that threat.” They

have not because they can not.
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       A.      The Government Misrepresents the Procedural Posture of this Case.

       The government asserts that Mr. Samsel must continue to be detained because his danger

to the community has not changed, but this observation is irrelevant. “A defendant ordered

detained by a magistrate judge may file ‘a motion for revocation or amendment to the order’ with

‘the court having original jurisdiction over the offense.’” United States v. Klein, 533 F. Supp. 3d

1 at 7. This is Mr. Samsel’s first request for a U.S. District Court judge to review his pretrial

detention determination. “Although the D.C. Circuit has not ruled on the matter, every circuit to

consider the issue has found that a magistrate judge’s detention order is subject to de novo

review.” Id. See also Munchel, 991 F.3d at 1279 (acknowledging that the District Court applied

a de novo review of a magistrate judge’s pretrial detention determination). Thus, this Court’s de

novo review of the magistrate judge’s initial detention determination now can benefit from what

we have learned from Mr. Samsel’s fifteen (15) months of detention.

       To that end, the government does not dispute that “while detained, the defendant has been

injured.” Gov’t Opp. at 22 (April 15, 2022) (ECF No. 147). The government appears to suggest,

however, that the cause of Mr. Samsel’s injuries is somehow irrelevant to this Court’s evaluation

of Mr. Samsel’s history and characteristics. For example, the government gratuitously notes

that: “[t]he cause of [Mr. Samsel’s] injuries remain[] under the subject of a separate

investigation,” id., and that, “[i]f the defendant has issues with conditions at Lewisburg, he is not

without recourse,” because he can bring a separate civil and/or administrative action challenging

the conditions of his confinement. Id. at 23. But there is a reason the Eighth Amendment to the

Constitution does not apply to pretrial determinations. See United States v. Lee, 451 F. Supp. 3d

1, 8 (D.D.C. 2020).

       Instead, Mr. Samsel submits that this Court need not ignore the prior finding by Judge

Kelly that, “on the entire record here, there is reason to believe that Defendant requires medical


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treatment that may be more readily available at the Pennsylvania facility.” Order at 1 (Nov. 29,

2021) (ECF No. 65). The government does not dispute that since Judge Kelly’s finding, Mr.

Samsel has still not seen the medical specialists that his medical records indicate are necessitated

by the conditions and/or injuries which with he presented at the time of his arrest and that have

manifested – whatever the cause – since his arrest 1.

         The court’s order in United States v. Lee, 451 F. Supp. 3d 1 (D.D.C. 2020), is readily

distinguishable from the facts and circumstances with which this Court is presented. First, here

Mr. Samsel seeks an initial review of the magistrate judge’s pretrial determination. There, the

defendant sought to reopen his pretrial detention determination. Lee, 451 F. Supp. 3d at 6.

Second, despite not reopening the record, Judge Brown Jackson did consider the defendant’s

conditions of confinement, concluded that the defendant’s “personal circumstances are not like

those of other defendants for whom COVID-19 has a readily material bearing—e.g., those who

have underlying medical conditions and thus are reasonably maintain that COVID-19 casts new


          1
            On August 5, 2021, Mr. Samsel was taken to the University of Virginia Medical Center for an
examination in which the doctor concluded that: “…Recommend PCP (Primary Care Provider) follow up for
gynecomastia. Given bloody nipple discharge, consultation with breast surgery should be considered.” To date,
there has been no follow-up for the chest pain, or the symptoms related thereto, which includes the concerns that
could be affiliated with the growth of a cystic condition. The records further showed that he had suffered “Injury of
left subclavian vein, subsequent encounter (primary),” which meant that he suffers from pain in his extremities, that
has gone untreated. There has been not only no physical therapy, but Mr. Samsel has been held continuously for
long periods of time in 24/7 lockdown (often at the request of the government to put him in what they refer to as
“protective custody” – which meant keeping him in a small holding cell without access to the outside, or any space
for movement, much less exercise. On September 15, 2021, the day after the Court’s status conference, Mr. Samsel
was transferred back to solitary confinement. At CVRJ, it was reported in their own records that, “Patient states that
he was dropped while being removed from a block and hit his head, [and the assessment noted was that] Patient has
mild redness on the left side of his face at the cheek bone area. No lacerations, lesions, no bleeding noted. Patient
has no lumps, bumps or bruising on his head or face. Patient has c/o HA. At that time, undersigned counsel had had
already scheduled an unrecorded video call with Mr. Samsel for Friday September 17, 2021, but officials with the
CVRJ inexplicably did not make Mr. Samsel available for the call. The call, which had been arranged prior to the
incident in question, would have allowed defense counsel to see any injuries sustained by Mr. Samsel during his
transfer to solitary confinement, where Mr. Samsel remained. Undersigned counsel further submits that the head
injuries from the incidents at both facilities CVRJ and NNRJ, to date have not been genuinely examined. Moreover,
the injury to the head post the March 21, 2021 incident in DC when Mr. Samsel was viciously assaulted while in the
custody of the District of Columbia Department of Corrections, and in “administrative segregation.”




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light on the individual ‘characteristics’ that the court previously considered when deciding

whether detention was required.” Id. at 7. Here, Mr. Samsel undisputedly suffers from a variety

of serious medical conditions and the government “agrees that [Mr. Samsel] should receive

proper medical care.” Gov’t Opp. at 22 (April 15, 2022) (ECF No. 147). He submits that

additional medical care is needed, but for many months now he has been unable to see the

specialists or seek the treatment that he needs – and has not only been refused medical treatment,

but has been held in solitary confinement kept with the lights on at all times. Third, Judge

Brown Jackson found that the “the dangers that [the defendant’s] release poses in the age of

COVID-19 are substantial, insofar as they include not only the risk that he will continue to

engage in the same types of unlawful and potentially dangerous conduct that led to both his

initial conviction and the charge of unlawful firearms possession that is at issue . . .” Id. at 7.

Thus, and once again, Judge Brown Jackson expressly did consider the conditions of

confinement as weighed against the risk a defendant posed to an individual or the community.

Finally, Judge Brown Jackson appears to have expressly contemplated the precise scenario with

which this Court is now presented: “Indeed, the Court can imagine a situation in which

temporary release might be warranted notwithstanding the lack of any individualized reason for

releasing the particular detainee, such as the potentially compelling generalized reason of

indifference, ineptitude, or sheer inability on the part of corrections authorities to ensure the

safety of the prison’s population.” Id. at 9.

       We do not yet know the cause of the altercations Mr. Samsel has endured while he has

been detained pretrial. Defense counsel has requested records that would likely elucidate the

same, but the U.S. Marshals Service has refused to provide them, and the government has

recommended that Mr. Samsel pursue collateral relief through a civil or administrative action if




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he wants them.2 Nor can the government refute that the same day The New York Times ran an

article containing sensitive information about Mr. Samsel, the government requested that he be

placed in protective custody (solitary confinement). See Mot. at 7 (April 1, 2022) (ECF No.

142). Most recently, the government conceded it disclosed grand jury transcripts and exhibits in

violation of Rule 6(e) of the Federal Rules of Criminal Procedure. Specifically, as the Court is

aware, on January 27, 2022, the Court Ordered the government to complete discovery by

February 24, 2022. Accordingly, that day the government produced grand jury transcripts and

materials to defense counsel. See Notice Ex. 1 at 33 (Feb. 24, 2022). Then, only after this

disclosure, did the government seek permission from the Court to produce these materials

pursuant to Rule 6(e). See Mot. (April 11, 202) (ECF No. 146).

         Defense counsel has no direct evidence to question the otherwise coincidental nature of

these incidents, but would nevertheless again suggest that this Court need not ignore these facts

as part of its de novo determination of whether Mr. Samsel must remain detained pretrial. These

facts are relevant to the question of whether Mr. Samsel poses an “identified and articulable

threat” to an individual or the community, from which his detention would “disable” him from

“executing.”




2
  While the government may dispute the cause of Mr. Samsel’s injuries while detained and in “solitary
confinement,” Defendant Samsel will readily submit that the “punishment did not fit the crime.” Also, of note is the
fact that there are no incident reports provided to defense counsel, which USMS would typically require for use of
force incidents. And defense counsel has previously documented how the incident at NNRJ purportedly involved
Mr. Samsel having “provoked,” for example, by disputing the need to be hand cuffed behind his back when he was
already hand cuffed in front; and had a jail doctor’s permission for not being handcuffed from behind due to the pain
in his arms, the following documented vomiting and loss of consciousness, the visible marks all over his body and
primarily the bumps and bruises protruding from his head, first seen by his counsel then photographed, and even the
need to go to the emergency room… was in no way a reasonable response.



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       B.      The Government Cannot Establish by Clear and Convincing Evidence that Mr.
               Samsel Presents an Identified and Articulable Threat to an Individual or the
               Community.

       The government blanketly submits that it has established that Mr. Samsel presents an

identified and articulable threat to an individual or the community based upon his: “[alleged]

assaults against law enforcement on January 6, 2021, and his nine criminal convictions that

include assaults and witness intimidation, and the reports from victims that describe acts of

brutality.” Gov’t Opp. at 22 (April 15, 2022) (ECF No. 147). The government concedes its own

inability to overcome the high burden of proof with which it is confronted – clear and convincing

evidence – by callously asserting: “[t]he defendant’s danger to the community if released is

cognizable. . . .” Id. The infringement of Mr. Samsel’s most sacred right – his own liberty –

requires more than such ipsit dixit. Rather, clear and convincing evidence means proof that the

defendant actually poses a danger to the community, not that a defendant “in theory” poses a

danger. United States v. Patriarca, 948 F.2d 789 (1st Cir. 1991). Only when there is a “strong

probability that a person will commit additional crimes if released” is the community interest in

safety sufficiently compelling to overcome the criminal defendant’s right to liberty. United

States v. Ploof, 851 F.2d 7 (1st Cir. 1988).

       While it is not for Mr. Samsel to demonstrate that he poses no articulable threat to an

individual or the community he can readily do so. The government cites to Mr. Samsel’s

criminal history to suggest that because he has pleaded guilty to (and thus been convicted of)

misdemeanors involving allegations of violence, he now poses a future risk to some inarticulable

individual. The government does not allege that Mr. Samsel poses any threat to his past

complainants – indeed, the government does not know the identity of these individuals or

anything about their cases other than what is alleged in their complaints (or accompanying police

reports). Nor does the government allege that Mr. Samsel poses some threat to any of the


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Capitol Police Officers he’s alleged to have assaulted, let alone any other individual associated

with the events of January 6. Again, the government does not, because it can not.

       Moreover, it would strain credulity to suggest that Mr. Samsel somehow poses a future

threat to the community by virtue of his alleged past participation in the riot at the Capitol on

January 6. All agree that the events of that day were unprecedented and are unlikely to happen

again in the future, including by punishing those found beyond a reasonable doubt to have

participated in those events to begin with. Regardless, the government is not so cavalier as to

suggest that Mr. Samsel poses any future threat to the Capitol or the community as a whole.

       Rather, the government, citing United States v. Fairlamb, 535 F. Supp. 3d 30 (D.D.C.

2021), suggests that “[a] defendant’s history of violence offers some of the strongest evidence of

his future dangerousness” and that “even if others are only likely to commit violence as part of a

mob, this defendant’s criminal history demonstrates he is willing to commit violence without

one.” Id. at 43-44. Fairlamb is neither binding nor persuasive – the court failed to identify the

specifically articulable threat that that defendant posed to an individual or the community. In so

doing, the court rejected the reasoned interpretation of Munchel by Judge Bates in his order

revoking pretrial detention of a January 6 defendant. United States v. Klein, 553 F. Supp. 3d 1

(D.D.C. 2021).

       While Judge Bates acknowledged the “broad divisions drawn in Munchel [as] offer[ing]

some parameters for differentiating among participants at the January 6 events[,]” the court

refused to accept the government’s blanket allegation that the allegation of violent participation

in the January 6 riot alone warranted detention. Rather, Munchel admonishes courts in this

District that, “a finding of dangerousness must be predicated on a concrete determination that the

defendant poses a continued, ‘identified and articulable threat to the community’ or to another




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person.” Klein, 553 F.Supp. 3d at 18 (emphasis original). The mere fact that a defendant is

alleged to have engaged in violence on a day as unprecedented as January 6 does not per se

establish that defendant’s dangerousness to the community (let alone an individual).

       Moreover, Fairlamb is distinguishable from the case at bar. There, the court found that

“the defendant intended to injure Officer Z.B. when he shoved and punched him.” 535 F. Supp.

3d at 44. Here, like in Klein, the government cannot establish that Mr. Samsel intended to injure

others. See Klein, 553 F. Supp. 3d at 15 (“[The defendant’s] conduct was forceful, relentless,

and defiant, but his confrontations with law enforcement were considerably less violent than

many others that day, and the record does not establish that he intended to injure others.”).

Similarly, Mr. Samsel’s criminal history is readily distinguishable from the history before the

court in Fairlamb.

       At the outset, the government cannot establish, let alone establish by clear and

convincing evidence, the conduct for which Mr. Samsel was actually convicted. Cavalierly, the

government refers the Court to Pretrial Services’ initial report and its summary of the

dispositions of Mr. Samsel’s prior offenses. See Pretrial Services Report (Feb. 19, 2021) (ECF

No. 6). Although the Court may rely on “investigatory descriptions of evidence (and similar

hearsay),” it may do so only where the Court, “reasonably concludes that those descriptions,

reports, and similar evidence, in the particular circumstances of the hearing, are reliable.” United

States v. Acevedo-Ramos, 755 F.2d 203, 207 (1st Cir. 1985). The government proffers no

information or other indicia of reliability to corroborate the assumption that the offenses for

which Mr. Samsel pleaded guilty and served his punishment serve to prove, beyond clear and

convincing evidence, that Mr. Samsel “has an extensive and disturbing criminal history.” Gov’t

Opp. at 13 (April 15, 2022) (ECF No. 147).




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        For example, the government advises the Court that in May 2006, Mr. Samsel was

arrested, “because [he] tried to run someone off the road . . .” Go’t Opp. at 13 (April 15, 2022)

(ECF No. 147). In fact, we know only that Mr. Samsel was alleged to have engaged in this

conduct, see Gov’t Opp. Ex. 1 (Feb. 6, 2021) (ECF No. 25), and that the offenses to which he

pleaded guilty were misdemeanors. 3

        Next, the government advises the Court that Mr. Samsel was arrested in June 2007

because, “[he] got into another man’s car and began hitting him in the face.” Gov’t Opp. at 13-

14 (April 15, 2022) (ECF No. 147). But again, we know only what Mr. Samsel was alleged to

have done and know of no other facts and circumstances surrounding Mr. Samsel’s arrest and the

eventual disposition of this matter – only that he ultimately again pleaded guilty to misdemeanor

offenses.

        Next, the government advises the Court that in July 2011, Mr. Samsel was, “convicted of

simple assault, reckless endangerment, disorderly conduct, and unlawful restraint, as well as for

intimidation of witness, for choking and beating his pregnant girlfriend.” Gov’t Opp. at 14-15

(April 15, 2022) (ECF No. 147). Again, however, the government cites only the “reporting

disposition” of Pretrial Services’ summary report. In prior submissions, the government instead

relies on witness statements, specifically of two sisters, both of whom admit they lied to the

police. Gov’t Opp. Ex. 4 (Feb. 6, 2021) (ECF No. 25). Indeed, on information and belief, at

least one of the sisters – Mr. Samsel’s ex-girlfriend – was also convicted after she used her twin-

sister’s driver’s license to visit him at the jail where she offered to change her testimony. Of

note, that he allegedly schemed with his ex-girlfriend to subvert her testimony is the only non-


3
 The government also highlights that Mr. Samsel was sentenced to a year of probation for a drug-related offense,
but the government otherwise provided no information concerning the allegations or allocution related of this
offense. Id. We do know that the charge must not have been serious otherwise it would have had some effect on his
probation for his prior 2006 conviction.



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misdemeanor offense for which he has been sentenced and involves conduct readily

distinguishable from the conduct with which he is charged related to January 6.

         Finally, the government advises the Court that in February 2017,4 Mr. Samsel was

convicted of simple assault and “harassment-subject other to physical contact,” after a victim

“reported numerous assaults by [Mr. Samsel].” Gov’t Opp. at 15 (April 15, 2022) (ECF No.

147). Once again, however, Mr. Samsel was only charged with, and pleaded guilty to,

misdemeanor offenses. 5

                                                        ***

         In summary, the government knows that it cannot establish by clear and convincing

evidence that Mr. Samsel poses any danger, let alone identify an articulable threat to an

individual or the community and that his continued pretrial detention disables him from

executing on any such threat. See Munchel, 2021 U.S. App. LEXIS 8810, at *13. The

government also knows that the conduct with which it has charged Mr. Samsel is alone

insufficient to warrant his continued pretrial detention. See Klein, 553 F.Supp. 3d at 18 (“[A]

finding of dangerousness must be predicated on a concrete determination that the defendant

poses a continued, ‘identified and articulable threat to the community’ or to another person.”

(emphasis original)). As a last resort, the government contends that Mr. Samsel’s criminal

history warrants pretrial detention. See Gov’t Opp. at 16 (April 15, 2022) (ECF No. 147) (“[Mr.

Samsel’s] history supports a finding of dangerousness as well as detention.”). However, the

government’s proffer of witness accusations lacking any fact-finding subject to the rigors of the


4
 Defense counsel inadvertently represented that the most recent conduct for which he had been convicted occurred
more than ten years ago. The government is correct that it occurred nearly seven (7) years ago.
5
  In its most-recent filing, the government also references a complainant “coming forward” in New Jersey to seek a
restraining order as against Mr. Samsel. See Gov’t Opp. at 15 (April 15, 2022) (ECF No. 147). Again, we know
little about the nature of this incident and, upon information and belief, it was summarily dismissed (or will be) for
want of prosecution.



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Due Process to which Mr. Samsel is entitled do not give rise to the requisite “reliability,” see

Acevedo-Ramos, 755 F.2d at 207, that warrant this Court’s reliance on the allegations therein for

the purposes of reaching a determination that Mr. Samsel must be detained pretrial to “disable”

him from executing on any “particular threat.” See Munchel, 2021 U.S. App. LEXIS 8810, at

*13.

       C.      The Government Has Not Established That There Are No Conditions or
               Combination of Conditions that Would Negate the Risk of Any Dangerousness
               Posed by Mr. Klein.

       Just as the government has summarily failed to identify, by clear and convincing

evidence, any articulable threat posed by Mr. Samsel to an individual or the community, it has

failed to meet its burden of establishing that no condition or combination of conditions is

sufficient to negate the risk of any such dangerousness. See United States v. Bell, 209 F. Supp.

3d 275, 277 (D.D.C. 2016). The government submits, without any foundation, that GPS

monitoring and/or home confinement, “will not preclude another assault.” Gov’t Opp. at 19

(April 15, 2022) (ECF No. 147). Their bare assertion begs the question – an assault of whom?

Obviously, there is no risk of an assault as against Capitol Police Officers within Mr. Samsel’s

own home. Similarly, the government highlights its desperation by incredulously suggesting that

his release would somehow enable him to, “as reported by victims, [have] relatives discourage

victims from testifying,” id., an offense assertion that warrants no response.

       Even were the Court persuaded by the government’s histrionics, it should nevertheless

order, in the alternative, Mr. Samsel’s temporary release so as to allow him to seek the third-

party medical treatment arranged while he was in the custody of the Pennsylvania Department of

Corrections and ordered medically necessary by his medical providers. Mr. Samsel can be

required to regularly confirm with the Court and/or pretrial services that such medical treatment

remains necessary and that treatment continues to be scheduled and received, and he can be


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placed in the custody of a family member, such as the Aunt and Uncle who raised him, or a close

family friend, such as a former government official known to the government, subject to either

household’s approval by pretrial services. See 18 U.S.C. § 3142(i).

                                          CONCLUSION

       Mr. Samsel has now been detained pretrial for more than fifteen (15) months based

largely on the government’s allegation that he participated in the violence that occurred at the

Capitol Building on January 6, 2021. The government has superseded his indictment to include

defendants who are only at the early stages of their cases, despite the fact that there is no

allegation that he knows or planned to act with any of the co-defendants. Because the

government has failed to articulate a specific threat to an individual or the community as posed

by Mr. Samsel, let alone that no condition or combination of conditions of release would

reasonably assure such safety, the Court must Order Mr. Samsel’s release subject to any

conditions the Court deems necessary to assure the safety of his community.

                                 [SIGNATURE ON NEXT PAGE]




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Dated: April 22, 2022            Respectfully submitted,

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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  ) Case No. 1:21-cr-00537-JMC
         v.                                       )
                                                  )
 RYAN SAMSEL,                                     )
                                                  )
                Defendant.                        )
                                                  )

                                 CERTIFICATE OF SERVICE

       On April 22, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to the following registered parties:



                                                    /s/ Stanley E. Woodward, Jr.
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